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                      UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MINNESOTA


 S.B., a minor child, by and through his               Civil File No.: ___________________
 Parents and Natural Guardians, S.C.B. and
 J.L.B.-J.,

                          Plaintiffs,                            COMPLAINT

             v.
                                                         JURY TRIAL DEMANDED
 Minnesota State High School League,

                          Defendant.



        Plaintiff S.B. (“SB”), by and through his parents and natural guardians, S.C.B. and

J.L.B.-J., for his Complaint against Defendant Minnesota State High School League

(“MSHSL”), states and alleges as follows:

                                    I. SUMMARY OF THE CASE

        1.        This is an action for injunctive relief, declaratory relief, and money

damages arising out of the injury, loss of property interest, and damage sustained by SB

as a result of the unconstitutional actions by the Minnesota State High School League

(“MSHSL”). Plaintiff seeks relief from the MSHSL’s improper suspension of SB, a

minor and student, from playing in the varsity football state championship game for

Chatfield High School (“Chatfield”) on Friday, November 26, 2021. Under Minnesota

law, interscholastic sports participation is a constitutionally protected property right

included as part of a student’s right to an education, which cannot be taken away without

due process. Due to the MSHSL’s lack of an appeals process for review of

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unsportsmanlike conduct penalty calls leading to ejection and subsequent automatic

suspension, SB was denied a constitutionally protected property right without due

process.

           2.       SB is the starting quarterback for the Chatfield Varsity Football Team. On

November 18, 2021, Chatfield played in a semifinal game for the MSHSL Class AA

State Football Championship. During the course of the game, MSHSL Officials issued

two unsportsmanlike conduct penalties against SB. While SB was ejected from the

semifinal game, Chatfield won and advanced to the state championship game scheduled

for November 26, 2021 at 1:00 p.m. However, due to the two unsportsmanlike penalties

SB is barred from playing in the championship game without due process. SB seeks an

impartial review of the two calls that led to his ejection from the semifinal game and

review of his subsequent immediate suspension from the November 26, 2021 state

championship game. There has been and can be no meaningful review of the two calls

and subsequent suspension prior to the championship game and therefore S.B. seeks to

enjoy and realize his property right in participation in interscholastic athletics and

participate in the state championship game.

           3.       SB brings this action for money damages, but also for the express purpose

of gaining the immediate ability to participate in varsity football at Chatfield for the state

championship game because there has been and can be no meaningful review of the two

calls in question or subsequent suspension prior the next scheduled game on November

26, 2021. SB seeks: (a) to obtain a temporary restraining order preventing the MSHSL

from suspending SB from the state championship game without due process; (b) to obtain

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additional injunctive relief permanently enjoining the MSHSL from suspending SB from

participating in varsity athletics and thereby allowing SB to participate in varsity football

absent a meaningful review of the calls in question and his suspension by a neutral; and

(c) to obtain a declaration that suspending SB without any appeals process was and is

unconstitutional and violates SB’s constitutionally protected rights.

                                          II. JURISDICTION

           4.       Plaintiff brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the

Fourteenth Amendment of the United States Constitution, and 28 U.S.C. §§ 1331 and

1343. This Court has original jurisdiction over Count One of SB’s Complaint.

           5.       Venue in this District is authorized by 28 U.S.C. § 1391(b) due to the fact

that the MSHSL conducts business or resides in this District and because this District is

where a substantial part of the events or omissions giving rise to the claims occurred.

                                             III. PARTIES

           6.       SB is a minor child who resides separately through a joint custody

agreement with his parents S.C.B. and J.L.B.-J. in Rochester, Minnesota, and Chatfield,

Minnesota within the boundary of the Chatfield Public School District, Independent

School District 227. SB, S.C.B. and J.L.B.-J. are citizens of the United States and

residents of the State of Minnesota.

           7.       Defendant Minnesota State High School League (“MSHSL”) is a domestic

non-profit corporation formed under Minn. Stat. § 317A, and has a registered Office

Address of 2100 Freeway Blvd., Brooklyn Center, MN 55430.



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                                     IV. FACTUAL ALLEGATIONS

           8.       SB is a minor and eleventh grade student who lives separately through a

joint custody agreement with his parents and guardians S.C.B. and J.L.B.-J. in Rochester,

Minnesota and Chatfield, Minnesota. SB is currently enrolled at Chatfield High School.

           9.       SB is a highly talented, star football player for the Chatfield Football

Team.1

           A.       SB’s Participation in a State Semifinal Football Game.

           10.      On November 18, 2021, SB participated in Chatfield’s semifinal state

championship football game.

           11.      Given S.B.’s success this year, during games opposing teams focus their

verbal and physical attention on SB. During the semifinal game, SB had a similar

experience.

           12.      During the semifinal game, the MSHSL Officials issued two

unsportsmanlike conduct penalties against SB, one in the second quarter and one in the

third quarter.

           13.      SB disagrees with the unsportsmanlike conduct calls as video of the alleged

penalties reveals SB was not the instigator, and as it relates to the second call, his actions

were a reaction to the twisting of his ankle to protect his own safety.




1
 SB plays quarterback and has over 2,200 yards rushing, 39 touchdowns and 700 yards passing
so far this season. His yards rushing place him in the top four in state history for rushing
performances in a single season, and third in state history for rushing touchdowns.
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           14.    Per MSHSL Bylaw 206.002, following the second unsportsmanlike

conduct penalty, SB was ejected from the game and subsequently suspended from

Chatfield’s next game in the tournament series, the state championship game on

November 26, 2021.

           15.   Further, when SB was issued two unsportsmanlike conduct calls and

ejected from a game, SB’s suspension from the next game was automatic and without

review or opportunity to appeal.

           16.   Fortunately, Chatfield won the semifinals game and advanced to the state

championship game on November 26, 2021 at 1:00 p.m. However, due to the MSHSL

Bylaws, SB is suspended and unable to play.

           B.    SB Seeks to Appeal Unsportsmanlike Conduct Penalties and
                 Subsequent Suspension.

           17.   SB disagrees with the MSHSL Officials’ unsportsmanlike conduct calls

issued to him during Chatfield’s semifinals football game and wishes to appeal these

penalties and subsequent suspension.

           18.   However, MSHSL Bylaw 407.003 prohibits players from contesting,

challenging, or appealing the penalty decisions and subsequent suspension, as any

“[p]rotests against decisions of contest officials will not be honored. . . . [and] [t]he

decisions of contest officials are final.”



2
  Can be found at: https://www.mshsl.org/sites/default/files/2020-07/handbook_2020-
21_200bylaws_web.pdf.
3
  Can be found at: https://www.mshsl.org/sites/default/files/2020-07/handbook_2020-
21_400bylaws_web.pdf.
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           19.   Despite Bylaw 407.00, the MSHSL has declared that during semifinal and

state final games, certain official decisions are eligible to be reviewed over video replay

and changed when appropriate, due to the importance of these games for players, teams,

and communities. For example, video review occurs on any play during the last two

minutes of a game that has a “direct competitive impact on the game.” See Exhibit A.4 In

fact, during Chatfield’s semifinal game on November 18 a fourth quarter touchdown was

signaled for Chatfield by the officials on the field, but the officials’ call was overturned

following video review.

           20.   Officials’ calls leading to ejection and suspension in other sports are subject

to a subsequent review. For example, Bylaw 206.00(C)5 for Basketball allows a head

coach who is ejected for technical fouls and suspended to seek subsequent review of the

suspension.

           21.   SB seeks a meaningful review of the two calls and subsequent suspension

by a neutral decisionmaker. Given the timing and intervening Thanksgiving Holiday

there is no opportunity for a meaningful review prior to Friday’s game and therefore SB

seeks to continue to play varsity football for Chatfield at the state championship game

until his appeal can be properly reviewed.




4
  This 20201 Instant Replay Policy and Protocol was sent out from MSHSL to teams before
tournament games.
5
  See supra note 2.
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           22.   The MSHSL’s decision to issue SB two unsportsmanlike conduct penalties

and suspend SB from the state championship game was willful, unreasoned, and without

consideration of the facts and circumstances present in SB’s situation.

           23.   SB has no means of recourse for the MSHSL’s decision to prohibit SB

from playing in the state championship game. SB seeks due process to challenge the

MSHSL’s unconstitutional actions, so that he may appeal his unsportsmanlike conduct

penalties and subsequent suspension and continue to participate in interscholastic sports

until he is afforded his constitutional due process rights.

                                     V. CAUSES OF ACTION

                                        Count One
             42 U.S.C. § 1983 – Fourteenth Amendment Due Process Violations

           24.   Plaintiffs incorporate and reallege the allegations contained in all other

Paragraphs of this Complaint as though fully set forth in this Count.

           25.   Education is a fundamental right in which individuals have a property

interest. This property interest is protected by the Fourteenth Amendment to the United

States Constitution and Article XIII of the Minnesota Constitution.

           26.   The fundamental right and property interest in education extends to

participation in interscholastic athletics.

           27.   The actions of the MSHSL in barring and suspending SB from varsity

athletics were taken under color of state law and constituted a violation of SB’s due

process rights under the Fourteenth Amendment of the United States Constitution. As a

result of this violation, SB is entitled to relief pursuant to 42 U.S.C. § 1983.


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           28.   Due process requires that deprivation of property be adjudicated, preceded

by notice and a meaningful opportunity to be heard appropriate to the nature of the case.

           29.   Due process requires that the MSHSL provide students with the

opportunity to be heard regarding rules, policies, and decisions which deprive them of

their constitutionally protected property rights.

           30.   The MSHSL maintains a policy of making suspension decisions based on

rules, standards, policies, and procedures that deprive students of any opportunity to

challenge decisions or be heard.

           31.   Students have no meaningful and legitimate ability to appeal the MSHSL’s

deprivation of property rights.

           32.   SB has been wrongfully denied an opportunity to be heard regarding his

unsportsmanlike conduct suspension, and specifically, SB is barred from protesting or

bringing such appeal under the MSHSL’s Bylaws.

           33.   SB has been wrongfully denied an opportunity to challenge his

unsportsmanlike conduct penalties that has resulted in the MSHSL’s automatic

suspension of SB’s eligibility to participate in varsity football state championship game.

           34.   The MSHSL’s bylaws, policies, and rules, as written, failed to provide SB

with due process protections appropriate to the seriousness of the constitutionally

guaranteed property rights that the MSHSL oversees and regulates in its capacity as a

quasi-state agency action under the color of state law.

           35.   Therefore, Defendant MSHSL’s actions, interpretations, creation, and

enforcement of the bylaws as well as policies supporting the bylaws constitute violations

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of SB’s due process rights under the Fourteenth Amendment to the United States

Constitution. As a result of these violations, SB is entitled to relief pursuant to 42 U.S.C.

§ 1983.

           36.   The MSHSL has acted with reckless indifference to SB’s federally

protected rights.

           37.   SB is entitled to recovery of his costs, including reasonable attorneys’ fees

under 42 U.S.C. § 1988.

           38.   As a direct and proximate cause of the action or inactions of the MSHSL,

SB has suffered significant social, emotional, and educational harm and has been

damaged in an amount to be determined at trial.

           39.   Plaintiff therefore requests and demands an order compelling the MSHSL

to allow SB to participate in varsity athletics, including the November 26, 2021 State

Championship Football Game, an order providing that his due process rights be honored

by having the subject calls reviewed by a neutral after SB has been given full opportunity

to present his position, and holding that he is entitled to monetary damages in an amount

to be determined at trial.

                                     VI. Prayer for Relief

           WHEREFORE, Plaintiff respectfully requests that this Court:

           1.    Exercise jurisdiction over this action;

           2.    Declare that students in Minnesota have a constitutionally protected right to

be eligible to participate in varsity athletics;



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           3.     Declare that SB’s right to participate in varsity athletics, including the state

championship football game, was wrongfully taken away by the MSHSL.

           4.     Declare that the MSHSL’s Bylaws’ lack of any appeal process as it relates

to unsportsmanlike conduct penalties and subsequent suspension violates due process.

           5.     Declare that the MSHSL did not afford SB with an adequate right to be

heard, nor other basic protections required by the Constitution following its actions to

suspend SB from varsity football and to prohibit him from playing in the state

championship game.

           6.     Award compensatory damages, including costs and attorneys’ fees, for all

counts alleged above.

           7.     Provide permanent injunctive relief, preventing the MSHSL from barring,

suspending, or otherwise preventing SB from participating in varsity athletics at Chatfield

High School until he is afforded his due process rights and granting immediate eligibility

to SB to participate in varsity athletics for Chatfield, including the State Championship

Football Game.

           8.     Provide such other and further relief as the Court deems just and equitable.

           Jury Trial Demanded.

           SB demands a trial by jury for all claims that may be so tried.




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Respectfully submitted,

 Dated: November 23, 2021                    LATHROP GPM LLP


                                             By: s/ Charles K. Maier
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                                             ATTORNEYS FOR PLAINTIFF




                                    VERIFICATION

        I verify that I have read the foregoing Complaint and that all the facts and
statements made therein are true and correct to the best of my knowledge, and as to those
facts stated on information and belief, I also believe them to be true and correct.

Dated: November 23, 2021                        s/ S.C.B.
                                                S.C.B., as parent and guardian of S.B.




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